Case: 4:18-cv-01364-SPM Doc. #: 383 Filed: 02/09/24 Page: 1 of 5 PageID #: 5427




                          IN THE UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

DENNIS BALL-BEY,                                      )
                                                      )
         Plaintiff,                                   )
                                                      )        Cause No. 4:18-CV-01364
v.                                                    )
                                                      )
KYLE CHANDLER, et al.                                 )
                                                      )
         Defendants.                                  )
                                                      )

            Defendant’s Response to the Plaintiff’s Motion for Attorney’s Fees

         Defendant, Kyle Chandler, files this response to Plaintiff’s Motion for Fees. On

Tuesday, January 10, 2024, this Court ordered that Plaintiff’s counsel be allowed to

inspect 11 boxes of documents that were related to an investigation into the Force

Investigation Unit. That inspection occurred on January 16, 2024. For the reasons

stated below, the fees requested should be reduced for the inspection of documents.

Any additional sanction, if necessary, should only be awarded to either the City of St.

Louis1 or to prior counsel of record.

a.       Plaintiff’s counsel should not be entitled to attorneys’ fees for the inspection of
         documents

         The eleven boxes in question were made available to the Plaintiff for inspection

as required by the Court’s January 10, 2024 order and were inspected on January 16,

2024. During the inspection, Plaintiff’s attorneys only copied two additional



1
 Though the City has been dismissed as a party, the underlying motion to compel (Doc. 329) upon which the
Court’s order that required the documents at issue to be produced (Doc. 360) was filed while the City was still a
party to this lawsuit.

                                                          1
Case: 4:18-cv-01364-SPM Doc. #: 383 Filed: 02/09/24 Page: 2 of 5 PageID #: 5428




documents, both of which had previously been produced by the City. The results of

the inspection were consistent with the statements provided by Sgt. Tanya Porter,

who packed the boxes, that all documents related to the incident at issue in this case,

the incident involving Mansur Ball-Bey, had been produced by the City. Sgt. Porter,

as the person who actually packed the boxes, had personal knowledge of the contents

of the documents. She attested to that fact in an affidavit that was attached to

Defendant’s response to Plaintiff’s motion to compel. (Doc. 372-1) Those documents

had been produced before the inspection. As there was no factual basis for believing

that there would be additional records related to the incident at issue in this case,

Plaintiff’s counsel should not be entitled to fees for this time for three attorneys for

this time.

b.    Attorneys’ fees should only be awarded against those whose conduct was
      improper

      Rule 37(a)(5)(A) provides that a court must award sanctions against the

“party…whose conduct necessitated the motion…to pay the movant’s reasonable

expenses incurred in making the motion, including attorney’s fees.” Fed. R. Civ. Pro.

37(a)(5)(A). Lawrence Pratt was lead counsel and most senior attorney on this case.

He represented, on multiple occasions, to the undersigned attorneys and Deputy City

Counselor Andrew Wheaton that all responsive documents had been produced. Mr.

Pratt separated from the City’s employ on December 29, 2023.             Following his

separation and the date of this filing, Attorney Vossmeyer had multiple conversations

with Mr. Pratt relating to motion, the location of documents within the file, and the

actions that had taken place which only Mr. Pratt and employees of the SLMPD had

                                           2
Case: 4:18-cv-01364-SPM Doc. #: 383 Filed: 02/09/24 Page: 3 of 5 PageID #: 5429




been privy to during Mr. Pratt’s employment with the City. During those

conversations, Mr. Pratt represented that all responsive documents had been

produced.

       “[S]anctions act as a symbolic statement about the quality and integrity of an

attorney's work—a statement which may have a tangible effect upon the attorney's

career.” In re Prudential Ins. Co. America Sales Practice Litigation Agent Actions,

278 F.3d 175, 191 (3rd Cir. 2002). The purpose of sanctions is to “penalize those whose

conduct may be deemed to warrant” them and “deter those who might be tempted to

such conduct in the absence of such a deterrent.” Nat'l Hockey League v. Metro.

Hockey Club, 427 U.S. 639, 643, 96 S.Ct. 2778, 49 L.Ed.2d 747 (1976). Here, the

conduct that the Court has found sanctionable is attributable to Mr. Pratt who was,

at the time, the lead counsel and senior attorney on the case. In the subsequent

investigation conducted by the undersigned counsel, several emails were discovered

between Mr. Pratt and SLMPD staff as well as emails between Mr. Pratt and City

Counselor’s Office support staff.2 Those emails establish that Mr. Pratt worked

independently with SLMPD and City Counselor’s Office support staff to collect the

documents. Further, no other City employee knew that Mr. Pratt had not reviewed

any documents before producing them until after he separated from the City’s

employ.

       "In addition to a wide array of options, the Court has broad discretion to impose

sanctions for a party's failure to comply with discovery requests. United States v. Big



2 Such emails can be provided to this Court for its review in camera if the Court requests.


                                                  3
Case: 4:18-cv-01364-SPM Doc. #: 383 Filed: 02/09/24 Page: 4 of 5 PageID #: 5430




D Enterprises, Inc., 184 F.3d 924, 936 (8th Cir. 1999); Collins v. Burg, 169 F.3d 563,

565 (8th Cir. 1999). But the Court's discretion "is bound by the requirement of Rule

37(b)(2) that the sanction be 'just' and 'relate to the claim at issue in the order to

provide discovery.'" Hairston v. Alert Safety Light Prod., Inc., 307 F.3d 717, 719 (8th

Cir. 2002) (quoting Avionic Co. v. Gen. Dynamics Corp., 957 F.2d 555, 558 (8th Cir.

1992)." Starks v. St. Louis County, 4:21-CV-435-RLW2022 WL 2208950, at *5 (E.D.

Mo. June, 21, 2022).

      “FRCP 37 contemplates that the burden will fall on the individual responsible

for the offending conduct.” Lee v. Walters, 172 F.R.D. 421, 436 (D.Or.,1997). “[I]t is

a great injustice for a court to publicly punish an attorney who has done

nothing wrong…” Otis v. Demarasse, 399 F.Supp.3d 759, 767 (E.D. Wis. 2019).

Again, it was not until after Mr. Pratt separated from the City’s employ that he

informed anyone at the City that he had not reviewed any of the documents that were

produced to Plaintiff. It also bears noting that Mr. Pratt was the only attorney

included on the signature block on the response to the motion to compel filed in

September, 2023, (Doc. 338), and the only attorney who attended the hearing on the

motion to compel, (Doc. 361). To the extent the Court decides to award attorneys’ fees

in connection with this motion to compel, the undersigned respectfully requests that

the Court’s order reflect only an effort to penalize those whose conduct may be deemed

to warrant said sanctions.

                                         Conclusion




                                          4
Case: 4:18-cv-01364-SPM Doc. #: 383 Filed: 02/09/24 Page: 5 of 5 PageID #: 5431




      Plaintiffs’ attorneys’ fees for searching through boxes should be reduced as the

search was conducted only because they did not trust the representations of the Police

Sergeant who stated that no additional documents relating to the Mansur Ball-Bey

incident existed beyond what was already produced by the City. It was not reasonable

to use three attorneys to conduct this search. Further, the award of any sanctionable

attorneys’ fee should be limited to an award against the City or the attorney by whom

the sanctionable conduct was committed in this case.

                                       Respectfully submitted,

                                       SHEENA HAMILTON
                                       CITY COUNSELOR

                                       /s/ Brandon Laird
                                       Brandon Laird                      #65564MO
                                       Rebecca Sandberg-Vossmeyer         #70342MO
                                       1200 Market Street
                                       City Hall, Room 314
                                       St. Louis, Missouri 63103
                                       (314) 622-4652
                                       (314) 622-4956 (facsimile)
                                       lairdb@stlouis-mo.gov
                                       vossmeyerr@stlouis-mo.gov

                                       Attorneys for Defendant Chandler




                                          5
